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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Lynchburg Division


     SHEA WHITEHURST

             Plaintiff

             v.                                         Case No.:     6:21CV00059
                                                                    JURY TRIAL DEMANDED
     LIBERTY UNIVERSITY, INC., and
     CHARLES TIPPETT

             Defendants


                                     AMENDED COMPLAINT

         COMES NOW, Plaintiff (“Shea Whitehurst”, “Whitehurst”, or “Plaintiff”), through

  her attorney, Fluet and Associates, PLLC, hereby file this complaint against Liberty University,

  Inc. (“Liberty”, “the University,” or “Liberty University”), and Mr. Charles Tippett

  (“Defendant Tippett” or “Tippett” collectively “Defendants”), and in support thereof alleges as

  follows:

                                             SUMMARY

         On the night of October 30, 2020, Plaintiff was subjected to a date rape by Defendant

  Tippett, who used alcohol and a “roofie” to render the Plaintiff incapacitated and then proceeded

  to penetrate and impregnate her. Plaintiff considered Tippett a friend and trusted him because of

  their shared status as Liberty University students. Plaintiff a deeply religious young woman,

  wrongly assumed that Tippett shared the University’s professed emphasis on abstinence from pre-

  marital sex and responsible personal behavior. She was wrong, and Tippett, apparently mixing a

  cocktail of alcohol and narcotics, rendered Plaintiff unable to avoid his sexual assault.



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         Plaintiff reported the matter to the University, which rather than take action, deterred the

  Plaintiff from taking proper steps to pursue her perpetrator, shifted the focus onto Plaintiff’s

  consumption of alcohol and allowed her rapist to graduate unscathed. The University’s conduct

  was not isolated and was part of a broader philosophy that failed to address, deter, or punish sexual

  assault. As a result of the confluence of interests between an assailant desirous of avoiding the

  consequences of his actions and an institution desirous of understating and undermining claims

  that sexual assaults were occurring, the Plaintiff was left not only without a remedy, but with an

  unwanted pregnancy terminated by miscarriage, emotional and physical scars, and a belief that she

  was responsible for the violence inflicted upon her.

         This suit seeks to remedy that injustice and to address a toxic breeding ground for sexual

  assault that Liberty created and countenanced. She brings direct claims against the perpetrator and

  Title IX claims against the errant university.

                                               PARTIES

         1.      Defendant Liberty University: is a Virginia Corporation that does business in the

  Commonwealth of Virginia through its educational campus in Lynchburg, Virginia as well as in

  the Commonwealth of Virginia through its “Liberty University Online” program and interactive

  website, which solicits payment and actually provides educational services, remotely, to residents

  of Virginia. Liberty University claims to have more than 100,000 students in its online and on-

  campus programs, including 25,000 students in Virginia.

         2.      Defendant Charles Tippett: is a former Liberty University student who graduated

  in May 2021. He currently resides in Georgia and is believed to be a resident of that State.




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          3.      Plaintiff Shea Whitehurst: was a Liberty student during the time of the events

  alleged. Plaintiff currently resides abroad pursuing her studies and anticipates graduating from

  Liberty University in 2022.

                                            JURISDICTION

          4.      This court has jurisdiction over these claims pursuant to 28 U.S.C. §1331, because

  the claims implicate a federal question arising from laws of the United States (Title IX) and 28

  U.S.C. 1332, because there exists diversity jurisdiction for claims which exceed $75,000.

  Additionally, this Court has supplemental jurisdiction over the remaining state court claims

  pursuant to 28 U.S.C. § 1367(a).

          5.      On information and belief, Liberty University receives in excess of $800 million

  dollars in federal money annually which is distributed in this judicial district. That money consists

  largely of financial aid to its students which pays student tuition and fees to the school. In 2017,

  one of the most recent years for which figures are available, Liberty University students received

  more than $772 million in total aid from the Department of Education – nearly $100 million of it

  in the form of Pell grants and the rest in federal student loan awards. In 2017, among universities

  nationwide, it ranked sixth in receipt of federal aid. Thus, though it is a private university, the vast

  majority of its funding comes from the federal government and is spent within the judicial district.

                                                 VENUE

          6.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), as the University

  is a corporation residing in and subject to personal jurisdiction in this District, and the majority of

  the acts complained of occurred in this District.

                                                 FACTS
          7.      Shea Whitehurst is a college student at Liberty University. She began attending the

  University in Fall 2019 and is expected to graduate in 2022. Because she is a college student, she

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  is domiciled in neither Virginia nor Georgia.

          8.      At the time of the incident, Whitehurst was located in Lynchburg, Virginia in order

  to attend her classes at the University.

          9.      Whitehurst is a Liberty University student athlete, competing on behalf of the

  University.

          10.     Whitehurst is a deeply religious woman who decided to attend the University

  primarily due to its conservative Christian values. These values included a prohibition on pre-

  marital sexual activity.

          11.     Whitehurst’s family is deeply religious, and she grew up in a conservative Christian

  faith that emphasized avoiding sexual intercourse until marriage.

          12.     Liberty University’s code of conduct “The Liberty Way” also prohibited pre-

  marital sexual activity.

          13.     On October 30, 2020, Defendant Tippett raped Whitehurst. Whitehurst believes

  Tippett used a drug of some sort, commonly called a “roofie” to incapacitate her physically and

  render her unable to consent to the subsequent forcible intercourse he inflicted.

          14.     At the time of the rape, Tippett was aware that Whitehurst was dating another

  student.

          15.     Prior to the rape, Whitehurst considered Tippett a friend. She had no romantic

  relationship with him of any kind prior to his raping her. Whitehurst believes Tippett had a

  girlfriend at the time of the rape.

          16.     In the evening of October 30, 2020, Whitehurst visited Tippett at his apartment.

          17.     Tippett provided alcohol to Whitehurst in the form of “hard” iced teas, which

  normally carries a low alcohol content of between 5% and 8% alcohol by volume.



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           18.   At the time of the rape, Tippett lived in an off-campus apartment, which is located

  in Lynchburg, Virginia.

           19.   When Whitehurst arrived Tippett was alone. Whitehurst had discussed getting

  together with Tippett and others and was under the impression that they would socialize as a

  group.

           20.   Tippett provided Whitehurst with at least two alcoholic drinks. Whitehurst believes

  these were “hard” iced teas.

           21.   Mr. Tippett then offered Whitehurst a third alcoholic beverage. Unlike the prior

  two drinks, Tippett prepared the drink himself, and did so outside of the view of Whitehurst.

           22.   Within 20 minutes of consuming the third drink, Whitehurst lost consciousness and

  was incapacitated physically and mentally.

           23.   Regaining consciousness, Whitehurst realized her clothes had been stripped.

           24.   Tippett then forcibly engaged in sexual intercourse with Whitehurst, without

  consent, using force and against her will. Whitehurst recalls being unable to speak or move her

  limbs and she was groggy and unable to resist or protest.

           25.   Whitehurst’s reactions are consistent with someone who has been drugged and she

  believes that Tippett mixed her third drink with some form of narcotic or other intoxicating

  substance to incapacitate and overpower her.

           26.   After Tippett eventually stopped raping Whitehurst, Tippett threw Whitehurst’s

  clothes at her and demanded she leave, when Whitehurst was unable to coherently respond, Tippett

  told her to get in his vehicle and he drove to her apartment and dismissed her form the vehicle.




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          27.     The following day a battered and bruised Whitehurst, went to Lynchburg General

  Hospital and reported being raped. A Physical Evidence Recovery Kit (“PERK”) colloquially

  known as a “rape kit” was administered.

          28.     Whitehurst was experiencing severe chest pain and had multiple bruises on her

  shoulder and legs, which were consistent with the use of force to hold her down and assault and

  batter her.

          29.     Whitehurst was so bruised and in pain that she could not attend her athletic practice,

  when her coach pressed her on her reasons, she told him that her legs had been severely bruised.

  The coach, without Whitehurst’s knowledge, informed the University of her condition.

          30.     In early November 2020, a representative from the University’s Title IX office

  contacted Whitehurst. Still traumatized, embarrassed, and humiliated from the rape, Whitehurst

  was reluctant to speak. The University did not clearly advise Whitehurst that her report would be

  confidential.

          31.     Whitehurst’s reluctance to report was based on the University’s failure to protect

  other victims of sexual assault, and its tendency to punish the victims of the assault rather than the

  perpetrators.

          32.     Whitehurst was aware that the University tended to focus on the behavior of the

  victims. As she had consumed alcohol, Whitehurst was concerned that she would be targeted for

  this infraction, but the rape would go unpunished. Her concerns proved to be well founded.

          33.     Whitehurst told the Title IX representative that she had been sexually assaulted.

  This statement was apparently recorded by the Title IX office, but Whitehurst was not provided

  with a copy of her own statement.




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          34.      Whitehurst was uncomfortable telling the University that a student had raped her.

  Later, a Title IX representative called another time, stating that a professor had reported Tippett as

  the assailant.

          35.      Approximately three months later, Whitehurst visited the Title IX office and had a

  four- hour meeting with the University’s Title IX representative. During that meeting, Whitehurst

  disclosed Tippet as her assailant. This statement was apparently recorded, but once again the

  University failed to provide a copy of this recording to Whitehurst.

          36.      Although Whitehurst was informed that she could seek a formal complaint, the

  representative lobbied her to pursue the informal mediation option. The representative discouraged

  Whitehurst from pursuing a formal complaint by advising her that if she chose that route, she

  would need to face Tippett directly in the same room.

          37.      The University, through the Title IX representative or another agent, did not advise

  Whitehurst to seek a criminal complaint or advise her that she should do so to receive additional

  resources or protection. The office provided written guidance which was contradicted by what was

  stated in meetings, creating serious confusion for what potential avenues Whitehurst had available

  to her. The Title IX Office also did not explain what processes were available from other entities

  with sufficient clarity, sewing additional confusion.

          38.      In the spring of 2021, without Whitehurst’s knowledge or consent, the Title IX

  office sent a joint electronic mail message to Whitehurst and Tippett setting forth Whitehurst’s

  claims against Tippett.

          39.      Incredibly, the University then advised Whitehurst that her only recourse against

  Tippett was not to pursue him for rape, but to seek to have the school’s honor code, “the Liberty

  Way”.



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          40.     Whitehurst became pregnant due to the rape. Consistent with her convictions she

  sought to continue the pregnancy through term. At seven weeks, Whitehurst miscarried.

          41.     Whitehurst’s introduction to sexual intercourse was an act of violence. Her

  pregnancy was not a choice but imposed upon her. Her dreams of having children through a loving

  marriage were destroyed and her initial pregnancy ended in a tragic miscarriage.

          42.     Since the rape, Whitehurst has shown numerous signs of severe post-traumatic

  stress disorder (“PTSD”), including, intrusive thoughts, an extreme startle reflex, difficulty

  concentrating had a hard time focusing, both in and out of academics. She has also gained weight

  and struggles with flashbacks to the assault these symptoms are consistent with severe PTSD.

          43.     Whitehurst’s actions in seeking justice against her assailant were thwarted, perhaps

  intentionally by the University. For nine months the University failed to explain the process and

  seemed to try to dissuade Whitehurst from taking action. When she did decide to move ahead, they

  stalled the process, which allowed the rapist to graduate unscathed. Only after this was Whitehurst

  was advised that Liberty refused to act because the assault took place off campus, a fact clearly

  known to the University at an early stage of the process.

          44.     In the summer of 2021, the Director of the University led internship that Whitehurst

  was participating in expressed an intention to terminate Whitehurst from that internship based on

  an expressly stated concern that Whitehurst intended to take legal action against the University

  (for the violation of Title IX).

          45.     Specifically, the Director informed Whitehurst and others at a meeting that, “If

  she’s [Whitehurst] suing the University, she can’t work with us.”




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         46.     In retaliation, Whitehurst submitted written work for her internship, which was

  mysteriously deleted from the internal board it was supposed to appear on. This occurred more

  than once.

         47.     Whitehurst made inquiries regarding the deletion that were ignored. Whitehurst

  became alarmed and concerned that she was being frozen out of her internship and effectively fired

  due to a perception that Whitehurst was going to sue Liberty University.

         48.     There is no lawful reason for Whitehurst to be excluded from full participation in

  any student groups due to her assertion of her protected rights. This is particularly true if she was

  intending to pursue any complaint process involving her rights protected by Title IX. The

  University representative’s stated intention to exclude Whitehurst from full participation in her

  internship, followed by her actual exclusion from full participation, constitutes illegal retaliation.

                            LIBERTY VIOLATED TITLE IX IN ITS
                        FAILURE TO ADDRESS WHITEHURST’S RAPE

         49.     Title IX (initially the Education Amendments of 1972, renamed the Patsy T. Mink

  Equal Opportunity in Education Act in 2002) provides that no “person in the United States shall,

  on the basis of sex, be excluded from participation in, denied the benefits of, or be subjected to

  discrimination under any educational program or activity receiving Federal financial assistance…”

  20 U.S.C. §§ 1681-1688.

         50.     Title IX has no explicit statute of limitations and, as a result, federal courts apply

  the most appropriate or analogous state statute of limitations. In this case, as the events at issue

  occurred less than two years prior to filing of these claims, they are timely under Virginia law

  and thus timely filed under Title IX.

         51.     Amendments made to Title IX in 2020 strengthened provisions related to the duties

  of educational institutions to root out and address sexual harassment and sexual assault claims.

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          52.      Under these amendments, when a school or university has actual knowledge of

  sexual harassment, including sexual assault, must take action that is not deliberately indifferent to

  the proscribed conduct. 1

          53.      “Sexual assault” is defined in 20 U.S.C. 1092(f)(6)(A)(v) as “an offense classified

  as a forcible or nonforcible sex offense under the uniform crime reporting system of the Federal

  Bureau of Investigation.”

          54.      Tippett's rape of Plaintiff on October 30, 2020, is an obvious and severe form of

  both sexual assault and form assault and battery. Even in a dating relationship, the FBI defines the

  acts committed against the Plaintiff as a form of actionable violence. Thus, the conduct is covered

  by Title IX.

          55.      Liberty University knew, or should have known, this to be true after Plaintiff

  reported the incident, and the University should have implemented safety measures following a

  thorough investigation into the Mr. Tippitt’s conduct, given the grave nature of the sexual assault

  perpetrated against the Plaintiff.

          56.      Representatives from the Liberty University Title IX office actively discouraged

  Plaintiff from pursuing a formal complaint, or other remedies against Tippett. Apparently to allow

  Tippett to graduate from the University without blemish.

          57.      Following the rape, Tippet faced no consequences. The University appears not to

  have had nor did it propose or provide either a safety plan or accommodations as required by Title

  IX. They placed the burden on Whitehurst to name what accommodations she needed, rather that

  stating what accommodations could be offered.

          58.      The University failed to appropriately investigate or address the acts of sexual


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   U.S. Dep’t of Educ., Questions and Answers on the Title IX Regulations on Sexual Harassment at 13 (July 20,
  2021).

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  violence perpetrated against Whitehurst.

           59.      Further, the University misused the Title IX process to subvert Whitehurst’s rights

  to pursue remedies against Tippett and to delay action against her assailant.

           60.      The University failed to follow the procedural and due process requirements set

  forth under Title IX in an apparent effort to minimize and conceal the rape of Whitehurst and to

  dissuade her form timely reporting the act or seeking remedies available to her.

           61.      These acts and omissions by Liberty constitutes a deliberate indifference to the

  obligations imposed on the University, under the 2020 Title IX standard.

           62.      Moreover, as other cases recently filed against the University reveal, the University

  had a pattern and practice of dissuading sexual assault victims from reporting and pursuing

  allegations of sexual assault against female students. 2

           63.      These deliberate actions display a reckless, if not intentional, indifference to the

  obligations imposed under Title IX.

           64.      Liberty University’s inadequate response to sexual assault has been acknowledged

  by senior University employees. Specifically, in October 2021, Senior Vice President of

  Communications, Scott Lamb (“Mr. Lamb”) was removed from his position for blowing the

  whistle on the inadequacy of the University’s efforts to address sexual assault.

           65.      Since being terminated, according to media reports, Lamb has publicly stated

  regarding Liberty’s actions, “Concerns about sexual assault would go up the chain and then die,”

  he has said. It was “a conspiracy of silence.”



  2
    Liberty University faces a separate retaliation lawsuit in this district from a former senior university official, Scott
  Lamb, (Case No. 6:21-CV-00055-NKM) and separate allegations similar to this Plaintiff are alleged by 22 other
  Jane Doe Plaintiffs in Jane Does 1-12 v. Liberty University, Inc., in the Eastern District of New York, (Case No.
  2:21-CV-03964-JMA-ARL). According to the docket report in the E.D.N.Y matter, there are currently ten Jane Doe
  though an additional 12 are anticipated to join in the future should the parties fail to achieve settlement via
  mediation.

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          66.     Mr. Lamb’s statements and descriptions of the University’s inadequate response to

  serious sexual assaults generally are consistent with the mishandling of the Plaintiff’s sexual

  assault in this case.

          67.     At the times relevant to these allegations, Mr. Lamb also served as the direct

  supervisor of the director of the student group who expressed retaliatory animus against the

  Plaintiff as described in ¶44, et seq.

                   LIBERTY UNIVERSITY’S INADEQUATE MECHANISM
                 FOR REPORTING AND INVESTIGATING SEXUAL ASSAULT

          68.     Liberty University has knowingly and intentionally created a campus environment

  where sexual assaults and rapes are foreseeably more likely to occur than they would in the absence

  of Liberty’s policies.

          69.     Broadly speaking, Liberty University has misdirected sexual victims into not

  reporting or pursuing claims and has actually used the Title IX investigative process as a tool to

  interfere with and obstruct claimants from reporting sexual assaults and having their assailants

  punished, thus subverting the act itself and essentially becoming aiders and abettors of the violence

  they commit.

          70.     Liberty fostered an inadequate mechanism for addressing sexual assault by (a)

  weaponizing the student honor code called “the Liberty Way,” making it difficult or impossible

  for students to report sexual violence and (b) facilitating an unhurried and insensitive process of

  investigating and addressing sexual violence, despite having robust Title IX and Discrimination,

  Harassment and Sexual Misconduct policies, leaving victims forced to face their attackers during

  the investigations and around campus.

                          THE WEAPONIZATION OF THE LIBERTY WAY

          71.     Liberty University maintains an honor code it calls the “Liberty Way.” All Liberty

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  students must affirmatively agree to this policy by signature during their freshmen orientation. It

  is believed that records of these signed honor codes are kept internally.

         72.      Instead of this policy shielding students as it claims to, it has been brandished as a

  sword for the University to create fear in students over the repercussions of reporting prohibited

  behaviors.

         73.     The Liberty Way claims to prohibit sexual harassment, discrimination and assault,

  and notes that all “members of the Liberty community are expected to treat everyone with a spirit

  of Christian love, mutual respect, and individual dignity.”

         74.     The University purports to offer support programs “to promote our commitment to

  biblical principles of abstinence and purity.”

         75.     The Liberty Way specifically provides that unmarried students may not engage in

  consensual sexual conduct of any kind:

         Sexual relations outside of a biblically ordained marriage between a natural-born man and
         a natural-born woman are not permissible at Liberty University. In personal relationships,
         students are encouraged to know and abide by common-sense guidelines to avoid the
         appearance of impropriety. Activities outside of these standards and guidelines are
         violations of the Student Honor Code.

         76.     The Liberty Way goes on to explain that this provision is violated by “inappropriate

  personal contact, visiting alone with the opposite sex at an off-campus residence; entering the

  residence hallway, quad, or on-campus apartment of the opposite sex or allowing the same, or

  visiting any dwelling or residence with a member of the opposite sex in inappropriate

  circumstances.”

         77.     Liberty University would issue offending students eighteen “points,” fine students

  $250, and require them to perform eighteen hours of community service if they committed a

  “minor infraction”, including: (a) intentionally attended an event where alcohol is served; (b) were

  in “any state of undress with member of opposite sex”; or (c) watched an NC-17 rated film or
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  played an “A” rated video-game.

         78.     The Liberty Way authorized the University to expel students who were guilty of

  sexual “immorality” or for “spending the night with a member of the opposite sex” and for

  “possession or consumption of alcoholic beverages.”

         79.     The Liberty Way contains a policy regarding self-reports. That policy provides that

  if a self-report is made within one-week of the misconduct, and there is no pre-existing

  investigation into the offense, then the Dean of Students Office “will work with the student in

  setting the necessary boundaries and accountability measures in place to foster an environment for

  growth.”

         80.     In other words, the self-reporting policy does not explicitly provide amnesty from

  the imposition of points, fines, or expulsion, but only provides that self- reporting students will be

  required to undergo counseling to set “boundaries” and “accountability measures” without further

  clarification. Moreover, the purported amnesty is only available for the first ten days following an

  ‘offense.’ This term is not clearly defined, leaving survivors of sexual violence, including assaults,

  without clear guidance on how to react to situations where they have been victimized.

         81.     The Liberty Way includes another exception with respect to reports by thevictims

  of witnesses of sexual violence:

         In order to encourage reports of conduct prohibited under this policy, an
         alleged victim or cooperating witness that may have been involved in a Code
         of Honor violation who makes a voluntary report or gives evidenceto the Title
         IX Office related to a Title IX investigation, will be treated similarly to a Self-
         Report for Honor Code purposes. For example, if an alleged victim or
         cooperating witness reports a Title IX violation or gives truthful testimony in
         support of a Title IX investigation and that report or testimony implicates a student
         as having been involved with another Code of Honor violation (e.g., alcohol,
         immorality), the cooperating witness will not be sanctioned for that conduct. Under
         this provision, a cooperating witness may be asked to participate in development
         opportunities or educational services.


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          82.     This provision is confusing, at best, because it (a) equates a report to Title IX to a

  self-report, which is time-limited and does not offer an explicit amnesty but, instead, makes clear

  that the University may impose “accountability measures”; (b) claims that those who report to

  Title IX will not be sanctioned for violations of the Liberty Way; and (c) imposes the obligation

  on reporters to participate in “developmentopportunities” and “educational services.” This policy

  does not provide victims of sexual violence enough information to understand the consequences

  of reporting.

          83.     The Liberty University Discrimination, Harassment, and Sexual Misconduct Policy

  also addresses reporting. The Policy notes that “to encourage reporting, testimony and other

  participation in processes outlined in this Policy, the University maintains a policy of offering

  Complainants, Respondents and Witnesses of Prohibited Conduct…amnesty from minor policy

  violations [of the Liberty Way] related to the incident” and not pursue disciplinary actions… “for

  disclosure of personal consumption of alcohol and other drugs (underage or illegal) or immortality

  (e.g., premarital sex), where such disclosures are made in connection with a good faith report or

  complaint of Prohibited Conduct.” The policy was in place during all times relevant to the

  Complaint and is attached as Exhibit A.

          84.     The Policy also prohibits retaliation in the form of “conduct that has a materially

  adverse effect on the working, academic, or other University-controlled environment of the person,

  or that hinders or prevents the person from effectively carrying out her or his University

  responsibilities” taken against a person as a result of his or her participation in a protected activity.

          85.     The Discrimination, Harassment and Sexual Misconduct Policy also states that “in

  case of a conflict between this Policy and another University policy, this Policy will govern”,

  suggesting that the guidance in this Policy supersedes even the Liberty Way. This seems to



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  preclude the University from punishing students for actions disclosed during reporting.

         86.     Despite this policy students who were the victims of sexual violence reported their

  assaults to the University through Resident Advisors and were urged to withdraw those reports

  because they involved admitted violations of the Liberty Way. Those students were told that their

  reports would subject them to discipline that could include expulsion. They, apparently, did not

  qualify for the amnesty, though no explanation for why was given.

         87.     Students declined to report assaults against them altogether because of the stories

  they heard from other victims and witnesses about how the University punished the victims of

  sexual violence.

         88.     Students who actually self-reported their assaults to the University were disciplined

  for violating the Liberty Way and fined in spite of their prompt report.

         89.     By weaponizing the Liberty Way, the University has created an environment where

  students are afraid to seek help, even after experiencing highly traumatic events.

       THE FAILURE TO ENFORCE TITLE IX AND THE LIBERTY UNIVERSITY
       DISCRIMINATION, HARASSMENT AND SEXUAL MISCONDUCT POLICY

         90.     Liberty University also has a Title IX Policy and a Discrimination, Harassment,

  and Sexual Misconduct Policy. The Title IX policy is occasionally updated and versions from 2015

  through the present are available online in appendices to Liberty University’s Clery Act reports.

  The Discrimination, Harassment, and Sexual Misconduct Policy is also available online as a linked

  file directly accessible through the digitally published Liberty Way.

         91.     The Title IX Policy webpage contends that “Liberty University strongly encourages

  the reporting of all forms of sexual harassment, discrimination or assault” and if students “are not

  sure if an incident qualifies as a violation of the Policy on Sexual Harassment, Discrimination or

  Assault”, they can contact the Office of Equity & Inclusion for support.

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          92.     The same webpage also states:

          Liberty University will provide prompt, compassionate and discreet support
          services to victims. When a student contacts the University’s Title IX Office, he/she
          will be given the opportunity to make a formal complaint with the Office.
          Immediate steps will be taken to inquire or investigate a complaint, stop the
          occurrence of the harassment/violence, protect and prevent re-occurrence, provide
          support and resources to those affected or involved and ensure the safety of the
          campus/community. Both interim measures and reasonable accommodations are
          available to affected parties. Reporting parties will review a Notification Checklist
          to ensure that the reporting parties are aware of resources and appropriate
          accommodations. 3

          93.     The Discrimination, Harassment, and Sexual Misconduct Policy further claims that

  “the University will respond to all reports of Prohibited Conduct [including sexual harassment and

  violence] with measures designed to eliminate the Prohibited Conduct, prevent its recurrence, and

  remedy any adverse effects of such conduct on persons, members of the campus community and

  University-related programs and activities.”

          94.     Despite this language, as well as the dedicated Title IX coordinator and support of

  the Office of Equity & Inclusion, Liberty University has a highly deficient sexual assault reporting

  and investigation process.

          95.     Liberty University also failed to follow its own procedures for addressing acts of

  sexual violence as set forth in the Discrimination, Harassment and Sexual Misconduct Policy.

          96.     The Policy proports that “the University is committed to providing a prompt,

  thorough, equitable and impartial resolution of all reported violations of this Policy.”

          97.     An Addendum to the Discrimination, Harassment and Sexual Misconduct Policy

  entitled “Supportive Measures Resource” notes that “Upon receiving a report or complaint of

  Prohibited Conduct, the University will provide reasonable and appropriate supportive measures



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          See How do I report?, LIBERTY UNIVERSITY (last visited Aug. 10, 2021), https://www.liberty.edu/title-
  ix/how-to-report/.

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  designed to preserve the Parties’ educational experiences; to protect the Parties during the

  investigation and resolution of a matter; to address safety concerns of the Parties or other affected

  members of the campus community; to maintain the integrity of the investigative and resolution

  processes; and to deter Retaliation.”

           98.    This guidance goes on to note that “Complainants will be offered supportive

  measures designed to restore or preserve the complainant’s equal educational access, regardless of

  whether a grievance process is ever initiated or their desire to receive them (i.e., refuses the offer

  of supportive measures).” Although the Support Measure Resource does not mandate a specific

  course of action, it is clear that at least some action should be taken.

           99.    Any investigation of Plaintiff’s claims resulted in the University taking no action

  against Mr. Tippet whatsoever. Despite their polices, the University implemented no support plan,

  provided no interim measures or reasonable accommodations.

           100.   Because of this, Shea Whitehurst was forced to see Mr. Tippett around campus,

  attend classes with him, and he remained President of a highly visible University affiliated student

  group.

           101.   Plaintiff reorganized her schedule to take all online classes independently in order

  to avoid additional contact with Tippett.

           102.   Although there were times when Plaintiff was less responsive to the Title IX office,

  the Discrimination, Harassment and Sexual Misconduct Policy states that “it is understood that

  there may be circumstances in which a Complainant or a Respondent wishes to limit her or his

  participation. However, the University may move forward with an investigation…and will not

  draw any adverse inference from a Complainant’s or a Respondent’s decision not to participate in

  the investigation or any form of resolution under this Policy.”



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          103.    The University’s investigation process was highly deficient and should not have

  been dependent on Plaintiff’s availability to participate. After the University did so little to help

  Plaintiff avoid Tippett on campus, it is understandable why Plaintiff may have wanted to scale

  back her involvement.

          104.    Further, despite the 2020 changes to federal Title IX policy limiting a college’s and

  university’s responsibility for sexual assaults taking place away from the physical campus, the

  Policy explicitly notes that “The University may also extend jurisdiction to off-campus conduct

  when the Executive Director/Title IX Coordinator determines that the conduct affects a substantial

  University interest, even if the University does not have substantial control over the context in

  which the alleged Prohibited Conduct occurs.”

          105.    In short, Liberty University weaponized its sexual violence reporting and poorly

  facilitated investigation policies, resulting in students, including Plaintiff, facing greater emotional

  trauma.

            COUNT I: PRE-ASSAULT DELIBERATE INDIFFERENCE/HOSTILE
                                  ENVIRONMENT
                             (Against Liberty University)

          106.    The foregoing paragraphs are incorporated by reference as if fully set forth herein.

          107.    Liberty University had actual knowledge prior to the above-described assault that

  its policies and procedures, as written and implemented, were enabling on-campus rapes and other

  serious sexual assaults.

          108.    Indeed, it is alleged on information and belief that Liberty University had specific

  policies (Title XI and Discrimination, Harassment and Sexual Misconduct), set forth above, to

  suppress complaints of sexual assault, rape, and other types of sexual harassment, and support

  accused campus predators.



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          109.    Liberty University deliberately ignored these policies, deeply harming Plaintiff as

  well as many of her peers.

          WHEREFORE, based on the foregoing, the above-described Plaintiff respectfully

  requests that this Court award JUDGEMENT in her favor and against Liberty University in an

  amount to be decided at trial, together with attorneys’ fees and costs pursuant to the fee-shifting

  provisions of Title IX, as well as pre-and-post judgement interest.

                  COUNT II: POST ASSAULT DELIBERATE INDIFFERENCE
                                (Against Liberty University)

          110.    The foregoing paragraphs are incorporated by reference as if fully set forth herein.

          111.    Following of the assault described above, high-ranking members of the

  University’s management and Title IX program became aware of the facts underlying the

  Plaintiff’s injuries.

          112.    In spite of that knowledge, the University either failed to take any action, or actively

  worked against the Plaintiff by destroying evidence of her assault and issuing sanctions against

  her.

          113.    In failing to take any action after learning of Whitehurst’s assault, the University

  defied its own procedures as set forth in the Title IX and Discrimination, Harassment and Sexual

  Misconduct policies.

          WHEREFORE, based on the foregoing, the above-described Plaintiff respectfully

  requests that this Court award JUDGEMENT in her favor and against Liberty University in an

  amount to be decided at trial, together with attorneys’ fees and costs pursuant to the fee-shifting

  provisions of Title IX, as well as pre-and-post judgement interest.




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                             COUNT III: HOSTILE ENVIRONMENT
                                 (Against Liberty University)

           114.   The foregoing paragraphs are incorporated by reference as if fully set forth herein.

           115.   The Liberty Way and its weaponization by Liberty University, as well as Liberty

  University’s well-documented pattern of discrimination against women victims and in favor of

  male assailants, created an atmosphere on campus that was permeated with discriminatory

  intimidation, ridicule and insult that was sufficiently severe or pervasive to alter the conditions of

  the education and create a sexually hostile environment for the Plaintiff.

           WHEREFORE, based on the foregoing, the above-described Plaintiff respectfully

  requests that this Court award JUDGEMENT in her favor and against Liberty University in an

  amount to be decided at trial, together with fees and costs pursuant to the fee-shifting provisions

  of Title IX, as well as pre-and-post judgement interest.

                                     COUNT IV: NEGLIGENCE
                                     (Against Liberty University)

           116.   The foregoing paragraphs are incorporated by reference as if fully set forth herein.

           117.   In the present case, as well as was the reality for countless other students who were

  the victims of sexual violence, the University recklessly, wantonly, and carelessly made the

  Plaintiff’s injuries more likely to occur and harder to prosecute because of the dangerous

  environment it created for students.

           118.   The University is therefore directly liable in negligence for its role in causing their

  harms.

           119.   The University’s negligence was sufficiently reckless, wanton, and gross as to

  warrant the imposition of punitive damages.




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         WHEREFORE, based on the foregoing, the above-described Plaintiff respectfully

  requests that this Court award JUDGEMENT in her favor and against Liberty University in an

  amount to be decided at trial, together with fees and costs pursuant to the fee-shifting provisions

  of Title IX, as well as pre-and-post judgement interest.

                                       COUNT V: ASSAULT
                                      (Against Charles Tippett)

         120.    The foregoing paragraphs are incorporated by reference as if fully set forth herein.

         121.    Mr. Tippett engaged in harmful, offensive, and violent sexual bodily contact with

  Shea Whitehurst. Mr. Tippett’s assault against Ms. Whitehurst was without her permission and

  against her will.

         122.    Tippett intended to cause either harmful or offensive contact with Plaintiff, or the

  apprehension of such contact.

         123.    Tippet’s actions toward the Plaintiff created in her a reasonable fear or

  apprehension of imminent battery. Tippett did, in fact, commit a battery against the Plaintiff, which

  the Plaintiff fearfully perceived in the moments immediately preceding the contact. Tippett did so

  when the Plaintiff was physically helpless, and unable to escape from him.

         124.    As a direct result of Tippett’s assault and conduct as alleged in this complaint, Shea

  Whitehurst experienced severe physical injuries, all of which were reasonably foreseeable as a

  result of his actions. She has also experienced severe emotional trauma.

         125.    As a direct result of Tippett’s assault and conduct as alleged in this complaint, Shea

  Whitehurst also experienced severe psychological distress, which will likely be permanent. Ms.

  Whitehurst has symptoms consistent with Post-Traumatic Stress Disorder and has had to undergo

  counseling since the assault to address her mental health.




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          126.     Tippett’s assault of Whitehurst was the proximate cause for serious psychological

  harm which Whitehurst experienced.

          127.     Tippett is therefore liable for assault.

          128.     Because Tippett’s actions reflect willful disregard for the rights of Whitehurst,

  Whitehurst is entitled to punitive damages.

                                         COUNT VI: BATTERY
                                        (Against Charles Tippett)

          129.     The foregoing paragraphs are incorporated by reference as if fully set forth herein.

          130.     Tippet’s rape of the Plaintiff constitutes an intentional touching of the Plaintiff,

  which was performed beyond the bounds of Plaintiff’s consent. The rape occurred against her

  will, and possibly after he administered an intoxicating substance with the intention of

  incapacitating her. Under the circumstances, Mr. Tippett’s actions were not consented to, excused,

  nor justified.

          131.     Tippett’s acts caused Plaintiff serious physical and emotional pain, suffering, and

  medical expenses as further explained in this Complaint.

          132.     As a direct result of Tippett’s rape of Ms. Whitehurst and his other conduct as

  alleged in this complaint, Shea Whitehurst also experienced severe psychological distress, which

  will likely be permanent. Ms. Whitehurst has symptoms consistent with Post-Traumatic Stress

  Disorder and has had to undergo counseling since the assault to address her mental health.

          133.     Tippett’s rape of Whitehurst was the proximate cause of physical and psychological

  damages to Whitehurst.

          134.     Tippett is therefore liable for battery.

          135.     Because Tippett’s actions reflect willful disregard for the rights of Whitehurst,

  Whitehurst is entitled to punitive damages.


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          WHEREFORE, based on the foregoing, the above-described Plaintiff respectfully

  requests that this Court award JUDGEMENT in her favor and against Charles Tippett in an amount

  to be decided at trial.

                            COUNT VII: RETALIATION UNDER TITLE IX
                                   (Against Liberty University)

          136.    When Ms. Whitehurst interacted with the Title IX office at Liberty University, she

  was engaged in protected activity under Title IX.

          137.    By denying Ms. Whitehurst full access to all the rights, privileges, and participation

  in her university-affiliated group and by expressly stating that if she were to file suit against the

  University, she would be excluded from further or continued participation, the University engaged

  in retaliatory conduct.

          138.    In his owns words, a University-affiliated director with supervisory authority over

  Ms. Whitehurst affirmed that the Defendant would take an adverse action against Ms. Whitehurst

  and deny her further and full participation in the internship if she sued the school.

          139.    There was a causal connection between Ms. Whitehurst’s protected activity and the

  adverse action of denying her full participation in her internship. The statement directly cited to a

  lawsuit concerning potential assertion of Ms. Whitehurst’s protected rights.

          140.    There was a causal connection between Ms. Whitehurst’s protected activity and a

  stated intention to deny her full participation in her internship if she engaged in litigation against

  the school.

          141.    The University had a retaliatory motive in its dealings with Ms. Whitehurst. The

  purpose and effect of the University representative’s statement she “couldn’t work with us…” was

  to discourage Ms. Whitehurst from pursuing her rights to engage in protected activity under Title




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  IX. The deletion of her work and ignoring of her requests for explanation shows a material and

  adverse impact on her participation in student activities after her engaging in protected activity.

         142.    The University representative and therefore the University itself had a retaliatory

  motive in making the statement that if she pursued a lawsuit, she would be excluded from further

  and full participation in her internship.

         143.    In addition, the Title IX office was aware, from the date of the initial complaint,

  that the assault occurred off-campus, yet rather than disclaiming any authority over the assault, put

  Ms. Whitehurst through months of the informal and formal process, before dismissing her

  complaint. This dismissal was based on information

                                              JURY DEMAND

         144.    Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a jury on all issues so triable.

                                        PRAYER FOR RELIEF

         WHEREFORE, based on the foregoing, the above-described Plaintiff respectfully

  requests that this Court award JUDGEMENT in her favor and against Liberty University and Mr.

  Tippet jointly and severally, in an amount to be decided at trial, but not less than $1.776 million,

  to the fullest extent permitted by law award additional punitive damages against Mr. Tippett for

  his intentional acts, and his malicious, wanton and willful disregard for the Plaintiff’s rights,

  together with attorneys’ fees and costs pursuant to the fee-shifting provisions of Title IX, as well

  as pre-and-post judgement interest.


  Date: October 14, 2022




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                                     Respectfully Submitted
                                     SHEA WHITEHURST
                                     by Counsel,

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on October 14, 2022, the forgoing Amended Complaint was served on

  all counsel of record in this matter via the court’s electronic filing (ECF) system.



                                                                /s/ Grace Williams
                                                                Grace Williams, Esq.




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